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 1                                                                             FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON


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                                                                      Jun 01, 2021
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                                                                          SEAN F. MCAVOY, CLERK




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 5                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    MARIA J.,
                                                   No: 2:20-CV-00242-FVS
 8                  Plaintiff,
         v.                                        ORDER GRANTING STIPULATED
 9                                                 MOTION FOR REMAND
      ANDREW M. SAUL, Commissioner
10    of the Social Security Administration,

11                  Defendant.

12            BEFORE THE COURT is the parties’ Stipulated Motion for Remand

13   pursuant to sentence four of 42 U.S.C. § 405(g). ECF No. 18. The Plaintiff is

14   represented by Attorney David L. Lybbert. The Defendant is represented by

15   Special Assistant United States Attorney Alexis Toma.

16            After consideration, IT IS HEREBY ORDERED that the Stipulated

17   Motion for Remand, ECF No. 21, is GRANTED. The Commissioner’s final

18   decision is reversed and remanded for further proceedings pursuant to sentence

19   four of 42 U.S.C. § 405(g). Upon remand to the Commissioner of Social Security,

20   the Appeals Counsel should remand this case to the Administrative Law Judge

21   (ALJ). On remand, the ALJ shall do the following: (1) offer Plaintiff the


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 1   opportunity for a de novo hearing; (2) if necessary, send Plaintiff for a consultative

 2   examination and/or call a medical expert to give testimony about the extent of the

 3   her limitations; (3) re-evaluate the medical opinion evidence and prior

 4   administrative medical findings; (4) re-evaluate Plaintiff’s symptom testimony; (5)

 5   re-assess Plaintiff’s residual functional capacity; (6) continue with the sequential

 6   evaluation process, as necessary; and (7) issue a new decision.

 7           The parties stipulate that this case be reversed and remanded to the ALJ on

 8   the above grounds pursuant to sentence four of 42 U.S.C. § 405(g). Therefore, the

 9   matter is remanded to the Commissioner for additional proceedings pursuant to

10   sentence four of 42 U.S.C. § 405(g). Upon proper presentation, this Court will

11   consider Plaintiff’s application for costs and attorney’s fees under 28 U.S.C. §

12   2412(d).

13           It is FURTHER ORDERED that Plaintiff’s Motion for Summary

14   Judgment, ECF No. 13, is DENIED as moot, given the parties’ motion for

15   remand.

16           The District Court Executive is hereby directed to enter this Order and

17   provide copies to counsel, enter judgment in favor of the Plaintiff, and CLOSE the

18   file.

19           DATED June 1, 2021.

20
                                            s/Fred Van Sickle
21                                           Fred Van Sickle
                                      Senior United States District Judge

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